911 F.2d 722
    Grkovic (W. Duke), Carlton (Donna), Lynch (Joan, Don),Harrison (John, Mary), Keane (William, Stephanie), Hughes(William, Helen), Lynch (Leonard, Barbara), Middleton (E.,Jr.), Schaubach (G., Carolyn), Todd (Moses), Kellam (Harold,Jr.), Huey (H.), Bleau (Donald E.), Newbill (E.), Ford(Stanley), Blankenbeckler (Connell), Perry (Tommy), Kline(Alvin, Jr.), English &amp; Ward Investment Co., Ashley(Millard), Whitmore (Thomas, Jr.)v.Franklin (Wayne D.), Kaine (Timothy),
    NO. 89-2974
    United States Court of Appeals,Fourth Circuit.
    AUG 02, 1990
    Appeal From:  E.D.Va., 125 F.R.D. 423
    
      1
      AFFIRMED.
    
    